              Case 2:07-cv-00385-PBT Document 4 Filed 03/23/07 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________
T. PETER TAGUE                                 :
                                               :       C.A. NO. 07-385 (BPT)
    On Behalf Of Himself And All               :
    Others Similarly Situated,                 :
                                               :       CLASS ACTION
                       Plaintiff,              :
                                               :
   v.                                          :
                                               :
INTERNATIONAL MERCHANT                         :
SOLUTIONS, LLC                                 :
                                               :
                    Defendant.                 :
_____________________________________          :

                                    STIPULATION OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff T. Peter Tague, by his

undersigned counsel, and Defendant International Merchant Solutions LLC, by its undersigned

counsel, hereby stipulate to the dismissal of this action, with prejudice as to the individual claims of T.

Peter Tague and without prejudice as to the claims of the putative class members, if any. This action

has not been certified as a class action, nor has a motion for class certification been filed.

                                                       Respectfully submitted,


   By: /s Darren M. Baldo________                  By: /s Ann M. Caldwell
       Darren M. Baldo                                 Ann M. Caldwell (AMC1953)
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        Counsel for Defendant                          Counsel for Plaintiff
        International Merchant Solutions LLC           T. Peter Tague




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